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From:            Jones, Michael (USASPC)
To:              Peter Moyers
Cc:              Gordon, Michael (USADC)
Subject:         FW: Activity in Case 1:21-cr-00444-JEB USA v. MOCK Indictment
Date:            Thursday, March 16, 2023 1:31:46 PM


Hi Peter,

The government superseded yesterday to add a 1512, two new 111 assaults (including one with a
metal flag pole), and to increase the 1752 misdemeanors to 1752 felonies because of the use of the
dangerous weapon (flag pole).

For the 1512, you’ll find relevant discovery in the NOT SENSITIVE > Scoped Electronic Search
Warrant Results folder, primarily the isolated posts from Mr. Mock’s facebook.

For the two 111 assaults, you’ll find relevant discovery in the NOT SENESITIVE > Open Source Videos
folder. If you open the “11 – START HERE” pdf, the two new assaults are documented on page 13.
The two most relevant videos are the one named “Exclusive Video Footage…” at 3:17 and 3:37, and
the one named “Second angle of throw…” at 8:55.

The above discussion is meant to be helpful, and in no way suggests that the government’s proof of
the new counts is limited to the evidence discussed above.

If you have any questions, please don’t hesitate to contact either Mike G. or me.

Best,
Mike


From: DCD_ECFNotice@dcd.uscourts.gov <DCD_ECFNotice@dcd.uscourts.gov>
Sent: Thursday, March 16, 2023 1:17 PM
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                                             District of Columbia
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Case Name:           USA v. MOCK
Case Number:         1:21-cr-00444-JEB
Filer:
Document Number: 64

Docket Text:
SECOND SUPERSEDING INDICTMENT as to BRIAN CHRISTOPHER MOCK (1)
count(s) 1ss, 2ss, 3ss-4ss, 5ss, 6ss, 7ss, 8ss, 9ss, 10s, 11s. (zstd)


1:21-cr-00444-JEB-1 Notice has been electronically mailed to:

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Peter R. Moyers   peter@moyerslawfirm.com

1:21-cr-00444-JEB-1 Notice will be delivered by other means to::

The following document(s) are associated with this transaction:

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2576ef92c921cdac15fca452752c9a2f14f239f032cfc6fbdafd7959dcf0]]
